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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AKHILESH TRIPATHI                                    :       CIVIL ACTION
                                                     :
               v.                                    :
                                                     :
                                                     :
MURANO CONDOMINIUM ASSOCIATION                       :       NO. 18-1840

                                             ORDER


               AND NOW: This 21th day of September, 2018, it having been reported that the
issues between the parties in the above action have been settled, and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it
is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel, without costs.

                                             KATE BARKMAN, Clerk of Court




                                             BY:___        /s/ Patrick Kelly        _________
                                                   Patrick Kelly
                                                   Deputy Clerk
